           Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 1 of 18                    FILED
                                                                                   2020 Jan-21 AM 09:24
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

JEAN HUMPHREY,             )
                           )
     Plaintiff,            )
                           )
v.                         )                     CIVIL ACTION NO.:
                           )
THE HEALTH CARE AUTHORITY  )
OF THE CITY OF HUNTSVILLE  )
D/B/A ATHENS-LIMESTONE     )
HOSPITAL EMERGENCY MEDICAL )
SERVICES,                  )
                           )
     Defendant.            )

                                  COMPLAINT

      COMES NOW, Jean Humphrey, Plaintiff in the above-styled action, and files

her Complaint against the Health Care Authority Of The City Of Huntsville d/b/a

Athens-Limestone Hospital Emergency Medical Services (hereinafter “ALH”),

Defendant in the above-styled action, and, in support thereof, shows as follows:

                                  INTRODUCTION

      1.       During her employment with ALH, Ms. Humphrey was subjected to

severe sexual discrimination and harassment including, but not limited to, sexually

suggestive and discriminatory comments, unwanted touching, and retaliation.

Although she complained to supervisor and management, nothing was done to

remedy the situation and the harassment continued for months. In fact, she was told
           Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 2 of 18




she could lose her job just for making the complaints. She was subjected to unfair

treatment and lost pay due as a result of the retaliation from her supervisors in

response to her complaints.

      2.       The ongoing discrimination, harassment and retaliation led Ms.

Humphrey to constructively terminated her job on January 2, 2020, when she felt

she had no alternative but to resign her position.

                              JURISDICTION AND VENUE

      3.       The jurisdiction of this Court is instituted and authorized pursuant to

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., as amended by

the Civil Rights Act of 1991 which provides for relief against discrimination and

employment on the basis of sex (henceforth “Title VII”).

      4.       The Defendant, ALH, conducts business in this district and division.

Moreover, a portion of the unlawful employment practices alleged in this complaint

occurred within this district and division. Thus, venue is proper in this Court

pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C. § 2000e—5(f)(3).

                               CONDITIONS PRECEDENT

      5.       Plaintiff filed a Charge of Discrimination with the Equal Employment

Opportunity Commission (“E.E.O.C.”) alleging discrimination on the basis of her

sex and her retaliation in violation of Title VII.        A copy of the Charge of

Discrimination is attached hereto as “Exhibit A.”


                                           2
           Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 3 of 18




      6.       Plaintiff received a Dismissal and Notice of Rights from the E.E.O.C.,

and this action was instituted within ninety (90) days of receipt thereof. A copy of

the Right to Sue is attached hereto as “Exhibit B.”

                                        PARTIES

      7.       Plaintiff, Jean Humphrey is a female citizen of the United States and

resident of this district and division. She is a former employee of Defendant.

      8.       ALH is an entity subject to suit under 42 U.S.C. § 1981, 42 U.S.C. §

2000e et seq., and 42 U.S.C. § 1981a. At all times relevant to this action, upon

information and belief, ALH has employed more than fifty (50) employees. Upon

information and belief, ALH was notified that the Plaintiff filed the Charge of

Discrimination.

                                         FACTS

      9.       Plaintiff who is female, started working for at ALH in 2016 as an

Emergency Room Technician while still in school training to become an Emergency

Medical Technician (EMT).

      10.      After Plaintiff became an EMT, she was subjected to sexual comments

and touching from her supervisor, Randy Pace.

      11.      In or around late July or early August, 2017, Plaintiff began working as

an EMT on the 11:00 am to 11:00 pm shift, seven days in each two week period.

She was the only female on the shift.


                                           3
         Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 4 of 18




      12.    On or around August 19, 2017, Mr. Pace told Plaintiff she had to give

up the new shift to allow another male employee to have the shift. The shift she was

told to give up included a pay rate increase differential.   When Plaintiff refused to

give up her shift, Mr. Pace was very rude to her and demanded that she “sing him a

song.”

      13.    Shortly thereafter, on several occasions, Plaintiff found the air in the

tires on her vehicle had been let out.

      14.    While under Mr. Pace’s supervision, the inappropriate sexual

comments became worse and more offensive. Plaintiff would walk away or tell Mr.

Pace his comments were gross and tell him to stop.

      15.    Plaintiff is also a competitive weightlifter. Mr. Pace continually made

sexually offensive comments to Plaintiff about her weightlifting videos. Mr. Pace

would also often comment to her about her perfume, behind, breasts, and

undergarments, etc.

      16.    One time, while Plaintiff was performing CPR on a patient, Mr. Pace

said to Plaintiff, “damn Jean get your ass out of my face, it looks so good I’m about

to bite it.” Plaintiff had no choice but to ignore it and continue performing CPR.

      17.    On some occasions, when Plaintiff had to ride alone in an ambulance

with Mr. Pace, he would brush against her inappropriately against her private parts

and make sexually inappropriate comments.


                                           4
         Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 5 of 18




       18.    Plaintiff was also subjected to sexual harassment by her co-workers,

Ross Hargrove and Jamie Stoddard. Mr. Stoddard and Mr. Hargrove made sexually

discriminatory comments to Plaintiff, telling her, among other things, on numerous

occasions she “had a big dick.” Plaintiff complained to her then supervisor, Mr.

Pace. Mr. Pace told Plaintiff there was nothing he could do.

       19.    On one occasion as Plaintiff left Mr. Pace’s office, Mr. Pace grabbed

Plaintiff by her shoulders pressed into her back, put his nose on her and said, “you

smell good.” Plaintiff violently pulled away from him and told him not to touch her

as she left his office.

       20.    In October of 2017, Plaintiff reported the ongoing sexually offensive

behavior to another supervisor, Gina Jones.

       21.    Ms. Jones told Plaintiff that Mr. Pace had lost his job at the hospital

once before for this same type behavior and had been rehired.

       22.    Plaintiff was told by Ms. Jones that it had always been this way; other

complaints had been made and nothing was ever done. Ms. Jones also told Plaintiff

that if she went to Human Resources (“HR”) to complain that Plaintiff would be

made miserable and/or lose her job.

       23.    On June 10, 2018, Mr. Pace told Plaintiff she was being mistreated

because she is a “girl.” Mr. Pace again said that there was nothing that could be

done about the mistreatment.


                                          5
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 6 of 18




      24.    On October 17, 2018, Mr. Pace told Plaintiff he had shown one of her

lifting videos he saw on social media to a friend of his and they had talked about

“how hot” Plaintiff looked. Plaintiff told him she did not want to hear about this

conversation and walked away.

      25.    On December 12, 2018, Plaintiff raised a complaint about the work

ethic of her partner and asked what he had discussed with Mike West, the Director.

Mr. Pace responded he would tell Plaintiff if he could “put his hand between [her]

boobs.” After Plaintiff refused, Mr. Pace kept at it saying, “come on, come on.”

      26.    Although she had made numerous complaints about the competency of

her male partner, Plaintiff was repeatedly told that nothing could be done. During

this same time period, a male made a similar complaint about his partner and it was

immediately taken care of.

      27.    On January 9, 2019, Plaintiff was yelled at and threatened by another

male supervisor, David Williams. Because Plaintiff’s complaints had been ignored

or made fun of, Plaintiff went to the house supervisor in charge of the hospital, Lisa

(last name unknown) and asked her how she could make a complaint to HR. Lisa

LKU said she would make the complaint and that Plaintiff would be contacted the

next day.

      28.    After the last complaint, Plaintiff was contacted by Tracy Collins, the

nursing supervisor. On January 10, 2019, Plaintiff met with Tracy Collins and


                                          6
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 7 of 18




Amanda Clardy with the Human Resources Department and reported Mr. Williams’

abusive behavior and all of the sexual harassment and discrimination Plaintiff had

been undergoing. Plaintiff was told an investigation would be done and warned that

she would be treated differently and that she would, “have a hard road ahead”.

Plaintiff was promised during this meeting that things would be handled

confidentially.

      29.    During the investigation, Plaintiff was subjected to harassment and

retaliation by co-employees and supervisors as the investigation proceeded. It was

clear that they knew details about Plaintiff’s allegations even though she had been

promised it to be handled confidentially.

      30.    When Plaintiff complained to Human Resources that the other

employees were harassing her in retaliation for making complaints of sexual

harassment, she was again told there was nothing they could do about that, they

cannot stop people from “talking”.

      31.    On January 29, 2019, Plaintiff was told by HR that, due to one joke

Plaintiff had told at work that HR considered inappropriate, Plaintiff had her left

herself “open” to all of the sexual harassment and discrimination.

      32.    Mike West, Director, made a very public comment on Facebook

alluding to Plaintiff’s complaint of sexual harassment in a derogatory way.

      33.    Plaintiff was also aware that Mr. West had tried to move her to a


                                            7
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 8 of 18




different shift and denied her the shift increase differential because of a false

complaint made against her by one of her co-workers.

      34.   On February 4, 2019, to move Plaintiff away from those harassing her,

she was moved to another, less advantageous shift.

      35.   Plaintiff’s new supervisor, Gina Jones, told Plaintiff she had been

instructed by Mike West that Plaintiff was not to be scheduled any overtime, even

though others were allowed to work overtime.

      36.   Plaintiff continued to be subjected to harassment. On March 15, 2019,

Plaintiff went to a grocery store and when she left, Mr. Pace and Mr. Hargrove where

parked outside the store. As she walked to her vehicle, Mr. Hargrove hung his cell

phone out his window appearing to take videos or photographs of Plaintiff.

      37.   On July 9, 2019, an email was sent by Amanda Clardy, Director of

Human Resources at Athens-Limestone Hospital to Mike West and other supervisors

that all ambulance employees must complete anti-harassment sessions.

      38.   After the complaints and investigation, Mr. Pace was demoted from his

supervisory position and Mr. West resigned as Director. However, the retaliatory

behavior from her supervisors and co-workers continued.

      39.   On or around January 2, 2020, Plaintiff submitted her resignation due

to the harassment and retaliatory treatment as a result of her complaint of sexual

discrimination and harassment. Plaintiff had no choice but to resign because her


                                         8
         Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 9 of 18




working conditions were so intolerable no reasonable person could have been

expected to tolerate them.

                                 CAUSES OF ACTION

                                      COUNT I
                     SEXUAL DISCRIMINATION UNDER TITLE VII
                               (DEFENDANT ALH)

       40. Plaintiff realleges and incorporates by reference, paragraphs 1 through

39, as if fully stated herein.

       41. Plaintiff has been discriminated against by the Defendant, ALH,

because of her gender and subjected to both a subjectively and objectively hostile

work environment due to her female gender.

       42. The above-discussed sexual discrimination violated Title VII.

                                      COUNT II
                           RETALIATION UNDER TITLE VII
                               (DEFENDANT ALH)

       43.    Plaintiff realleges and incorporates by reference, paragraphs 1 through

39, as if fully stated herein.

       44.    Defendant, ALH, retaliated against Plaintiff by applying a

disproportionately severe disciplinary standard to Plaintiff. This was done in

response to Plaintiff complaining about sexual harassment and for opposing

employment practices that the Plaintiff believes to be unlawful, in violation of Title

VII.


                                          9
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 10 of 18




      45.    Defendant, ALH, ratified and condoned the retaliatory hostile work

environment created by the males about whom Plaintiff had complained of sexual

discrimination and harassment telling her there was “nothing they could do.”

      46.     Defendant, ALH, subjected Plaintiff to unequal treatment regarding

the terms, conditions and privileges of her employment for complaining of gender-

based sexual harassment by moving her to a different, less advantageous shift and

denying her the ability to work overtime. The retaliation was done willfully and

with malicious and reckless disregard for the rights of Plaintiff.

      47.     As a proximate result of the Defendant, ALH’s, wrongful conduct,

Plaintiff has been injured and damaged as follows: she has suffered extreme mental

and emotional distress, pain and suffering, lost wages and benefits.

                       PRAYER FOR RELIEF UNDER TITLE VII

      The Plaintiff has suffered, is now suffering, and will continue to suffer

emotional distress, pain, inconvenience, mental anguish, loss of enjoyment of life,

and other nonpecuniary losses as a direct result of the Defendant’s violation of Title

VII of the Civil Rights Act of 1964, as amended.

      The Plaintiff has and will continue in the future to suffer pecuniary losses as

a direct result of the Defendant, ALH’s, violation of Title VII of the Civil Rights Act

of 1964, as amended.

      WHEREFORE, the Plaintiff prays that this Court:


                                          10
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 11 of 18




              a.     Declare the conduct engaged in by the Defendant, ALH,
                     to be in violation of the Plaintiff’s rights;

              b.     Enjoin the Defendant, ALH, from engaging in such
                     conduct in the future;

              c.     Award the Plaintiff compensatory and punitive damages,
                     including back pay, in an amount to be determined by this
                     Court;

              d.     Award the Plaintiff costs and attorneys’ fees; and

              e.     Grant such further and other, different and relief, including
                     equitable, as this Court deems just and proper.

                                      COUNT III
                                 INVASION OF PRIVACY
                                  (DEFENDANT ALH)

       48.    Plaintiff realleges and incorporates by reference, paragraphs 1 through

39, as if fully stated herein.

       49.    During the period of the Plaintiff’s employment with the Defendant

ALH, Mr. Pace, acting within the line and scope of his employment with the

Defendant, ALH, wrongfully pried or intruded into the Plaintiff’s private activities,

affairs, and seclusion.

       50.    The nature of the intrusions referred to herein was so outrageous as to

cause mental suffering, shame, or humiliation to a person of ordinary sensibilities.

       51.    On more than one occasion, Plaintiff complained to management-level

employees of the Defendant, ALH, regarding the repeated intrusions into her

personal life by Mr. Pace, or Defendant ALH, was otherwise aware of Mr. Pace’s
                                           11
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 12 of 18




intrusions; however, after being informed of the same, the Defendant, ALH, did not

take any action, whatsoever, to effectively terminate or correct the activities

described herein.

       52.    As a direct and proximate result of the unreasonable and illegal action

of the Defendant, ALH’s, employees, the Plaintiff has suffered from a loss of income

and benefits, as well as physical and mental anguish, and has suffered severe

emotional distress.

       WHEREFORE, the Plaintiff prays that judgment be entered against

Defendant, ALH for compensatory and punitive damages, costs of this action, and

such other legal and equitable relief as this Court deems necessary and proper.


                             COUNT IV
  NEGLIGENT/WANTON, HIRING, TRAINING, SUPERVISION AND/OR RETENTION
                         (DEFENDANT ALH)

       53.    Plaintiff realleges and incorporates by reference, paragraphs 1 through

39, as if fully stated herein.

       54.    Defendant ALH, owed a duty to Plaintiff to properly train, supervise &

retain employees so as to promote and maintain a work environment without

pervasive sexual harassment and discrimination.

       55.    The Defendant, ALH, failed to properly train and/or supervise Randy

Pace, Ross Hargrove, Jamie Stoddard and other employees who were incompetent

in that they committed the wrongful acts referred to herein in the line and scope of

                                         12
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 13 of 18




his employment.

       56.   The Defendant, ALH, as the employer, is and was imposed with the

duty to train and supervise employees.

       57.   The Defendant, ALH, breached its duty by failing to exercise

reasonable care or acting in reckless disregard of a known risk that the Plaintiff

would be subjected to continued sexual harassment.

       58.   As a direct and proximate result of the Defendant, ALH’s, breach of its

duty to exercise reasonable care, the Plaintiff has suffered from a loss of income and

benefits, as well as mental and physical anguish and severe emotional distress.

       WHEREFORE, the Plaintiff prays that judgment be entered against

Defendant, ALH, for compensatory and punitive damages, costs of this action, and

such other legal and equitable relief as this Court deems necessary and proper.

                                     COUNT V
                                     BATTERY
                                 (DEFENDANT ALH)

       59.    Plaintiff realleges and incorporates by reference, paragraphs 1 through

39, as if fully stated herein.

       60.    Defendant, ALH, is responsible for the wrongful acts as alleged by

Plaintiff.

       61.    During the period of the Plaintiff’s employment with the Defendant

ALH, Mr. Pace, while acting within the line and scope of his employment with the


                                         13
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 14 of 18




Defendant, ALH, wrongfully brought about harmful and offensive contact to

Plaintiff’s person.

       62.    Defendant ALH’s, management was on notice of the offensive contact

to Plaintiff’s person by Mr. Pace, following Plaintiff’s complaints about said

behavior. However, after being informed of the same, the Defendant ALH, did not

take any action to effectively terminate or correct the activities described herein.

       63.    Defendant ALH, had explicit knowledge of the offensive contact to

Plaintiff’s person by Mr. Pace.

       64.    As a direct and proximate result of the unreasonable and illegal action

of the Defendant, ALH’s, employee, the Plaintiff has suffered from a loss of income

and benefits, as well as physical and mental anguish and severe emotional distress.

       WHEREFORE, the Plaintiff prays that judgment be entered against

Defendant ALH for compensatory and punitive damages, costs of this action, and

such other legal and equitable relief as this Court deems necessary and proper.

                                      COUNT VI

                                      ASSAULT
                                  (DEFENDANT ALH)

       65.    Plaintiff realleges and incorporates by reference, paragraphs 1 through

39, as if fully stated herein.

       66.    Defendant, ALH’s, employee, Mr. Pace committed an intentional


                                          14
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 15 of 18




touching, and/or threat of same, to Plaintiff in a rude, threatening or explicit manner

under such circumstances that said touching created in Plaintiff a well-founded fear

of an imminent battery.

       67.    At the time of the touching, and/or threat of same, Mr. Pace had the

ability and opportunity to consummate the offense.

       68.    As a direct and proximate result of Defendant, ALH’s, employee’s

behavior, Plaintiff was caused to suffer personal injury and severe emotional

distress.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant

ALH for compensatory and punitive damages, costs of this action, and such other

legal and equitable relief as this Court deems necessary and proper.

                                    COUNT VII
                                     OUTRAGE
                                 (DEFENDANT ALH)

       69.    Plaintiff realleges and incorporates by reference, paragraphs 1 through

39, as if fully stated herein.

       70.    During the period of her employment with the Defendant, ALH, the

Plaintiff was subjected to conduct by Mr. Pace so outrageous in character and so

extreme in degree as to go beyond all possible bounds of decency, and to be regarded

as atrocious and utterly intolerable in a civilized community.

       71.    The actions referred to herein were intended on the part of Mr. Pace,


                                          15
        Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 16 of 18




acting within the line and scope of his employment with the Defendant, ALH, so as

to cause the Plaintiff to suffer severe emotional distress or with reckless disregard as

to the effect of such conduct.

      72.    On one or more occasions, Plaintiff and complained to management-

level employees of the Defendant, ALH, about the outrageous conduct to which she

was being subjected by Mr. Pace acting in his capacity as an employee of the

Defendant, ALH, or management was otherwise aware of Mr. Pace’s outrageous

conduct; however, the Defendant, ALH, failed to take any action to effectively

correct or terminate such activities.

      73.    As a direct and proximate result of such extreme and outrageous

conduct by Mr. Pace acting within the line and scope of his employment with the

Defendant, ALH, the Plaintiff has suffered mental and physical anguish and severe

emotional distress.

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant,

ALH for compensatory and punitive damages, costs of this action, and such other

legal and equitable relief as this Court deems necessary and proper.

                                   JURY DEMAND

      Plaintiff demands trial by jury on all issues triable at law.



Respectfully submitted this the 20th day of January, 2020.


                                          16
Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 17 of 18




                            s/ Teri Ryder Mastando
                            Teri Ryder Mastando (ASB-4507-E53T)
                            Eric J. Artrip (ASB-9673-I68E)
                            MASTANDO & ARTRIP, LLC
                            301 Washington St., Suite 302
                            Huntsville, Alabama 35801
                            Phone:        (256) 532-2222
                            Fax:          (256) 513-7489
                            teri@mastandoartrip.com
                            artrip@mastandoartrip.com




                              17
       Case 5:20-cv-00095-HNJ Document 1 Filed 01/20/20 Page 18 of 18




DEFENDANT TO BE SERVED VIA CERTIFIED MAIL:

The Health Care Authority of the City of Huntsville
101 Sivley Road
Huntsville, AL 35801




                                     18
